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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA


                                            CIVIL MINUTES – GENERAL

    Case No.       LA CV18-02288 JAK (SSx)                                             Date     August 15, 2018
    Title          Aerial West, LLC v. Drone World, LLC, et al.
	




    Present: The Honorable              JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                       Andrea Keifer                                                Not Reported
                        Deputy Clerk                                         Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                          Not Present                                                 Not Present


    Proceedings:                (IN CHAMBERS) ORDER SETTING PRETRIAL DATES

The Court has reviewed the parties’ July 13, 2018 Joint Report and sets the following deadlines:

            August 22, 2018:                        Deadline to schedule date for settlement conference with
                                                    Magistrate Judge Segal. Judge Segal’s Clerk, Marlene
                                                    Ramirez, can be reached at 213.894.3598.

            August 27, 2018:                        Last day to amend or add parties

            December 14, 2018:                      Last day to participate in a settlement conference/mediation

            December 21, 2018:                      Last day to file notice of settlement / joint report re settlement

            January 7, 2019 at 1:30 p.m.:           Post Mediation Status Conference

            January 17, 2019:                       Non-Expert Discovery Cut-Off

            January 31, 2019:                       Initial Expert Disclosures

            February 14, 2019:                      Rebuttal Expert Disclosures

            February 28, 2019:                      Expert Discovery Cut-Off

            February 28, 2019:                      Last day to file All Motions (including discovery motions)

The parties will be invited to submit proposed dates for the final pretrial conference and trial, if necessary,
upon the Court’s final ruling on the motions. The trial estimate will be set at the final pretrial conference.

The Court refers the parties to participate in a settlement conference with Magistrate Judge Suzanne H.
Segal. The parties are ordered to have a representative with authority to make final decisions as to this
matter present at the settlement conference and to comply with all orders issued by Judge Segal with
respect to the settlement conference process. If a settlement is reached, the parties are ordered to file a
notice of settlement, with a proposed date by which the matter will be dismissed. No appearance will be
                                                                                                             Page 1 of 2
	
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required on January 7, 2019, if such notice is filed on or before December 21, 2019. If a notice of
settlement is not filed, counsel shall file a joint report by December 21, 2019, regarding the status of
settlement and whether a second session would be productive. The joint report shall not disclose the
substantive contents of any settlement communications between the parties.


IT IS SO ORDERED.

cc: Magistrate Judge Suzanne H. Segal
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                                                          Initials of Preparer   ak




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